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          In the United States Court of Federal Claims
                                          No. 16-387C
                                    (Filed: October 6, 2017)

                                             )
 MARK K. ARNESS,                             )
                                             )
                      Plaintiff,             )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                      Defendant.             )
                                             )

                                   ORDER OF DISMISSAL

        On September 27, 2017 the court issued an order giving plaintiff until October 4,
2017 to file a notice in accordance to RCFC 52.2(f) or the court would dismiss the case
on the grounds that plaintiff did not wish to challenge the AFBCMR’s August 9, 2017
remand decision. A review of court records indicates that plaintiff has not filed a 52.2(f)
notice. Accordingly, the above-captioned case is DISMISSED on the grounds that the
plaintiff does not challenge the AFBCMR’s remand decision. The Clerk is directed to
enter judgement consistent with this order. No Costs.

       IT IS SO ORDERED.

                                                               s/Nancy B. Firestone
                                                               NANCY B. FIRESTONE
                                                               Senior Judge
